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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF OREGON
                               EUGENE DIVISION

SHERRI STUART,                                           )
                                                         )
               Plaintiff,                                )
                                                         )
       v.                                                )      No.
                                                         )
                                                         )        Complaint
                                                         )
CAPITAL ONE BANK,                                        )
                                                         )
               Defendant.                                )

                                          COMPLAINT

       NOW COMES Plaintiff, SHERRI STUART ("Plaintiff"), by and through her attorneys,

and for her Complaint against Defendant, CAPITAL ONE BANK ("Defendant"), Plaintiff

hereby allege as follows:

                                        Nature of the Action

       1.      This action is brought by Plaintiff pursuant to the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227 et seq.

                                               Parties

       2.      Plaintiff is a natural person at all times relevant residing in Keizer, Oregon

       3.      Defendant is a business entity incorporated in Virginia with headquarters in

Richmond Virginia.

       4.      Defendant acted though its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.
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                                          Jurisdiction and Venue

        5.      Jurisdiction of this court arises pursuant to 28 U.S.C. § 1331 and 47 U.S.C. § 227.

        6.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as the acts and transactions

giving rise to this action occurred in this district as Plaintiff resides in this district and Defendant

transactions business in this district.

                                           Factual Allegations

        7.      Defendant places telephone calls to telephone number (971) 388-3220.

        8.      Telephone number (971) 388-3220 is assigned to Plaintiff’s cellular telephone.

        9.      These calls are not for emergency purposes.

        10.     These calls are made in connection with an attempt to collect an alleged debt.

        11.     Upon information and good faith belief, based on the frequency, number, nature

and character of these calls, Defendant used an automatic telephone dialing system, or other

equipment capable of storing and/or producing telephone numbers, to place these calls.

        12.     On or around September 8, 2016, Plaintiff spoke with Defendant and instructed

Defendant to stop calling her cell phone.

        13.     Plaintiff revoked consent for Defendant to use an automatic telephone dialing

system to call her cell phone.

        14.     Defendant continued to use an automatic telephone dialing system to call

Plaintiff’s cell phone after the first conversation on September 8, 2016.

        15.     Defendant called Plaintiff’s cell phone multiple times in a single day.

        16.     Since the first conversation September 8, 2016 Defendant used an automatic

telephone dialing system to call Plaintiff’s cell phone at least eighty-eight (88) times.

        17.     Defendant placed these calls voluntarily.




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         18.    Defendant placed these calls under its own free will.

         19.    Defendant had knowledge that it was using an automatic telephone dialing system

to place these calls.

         20.    Defendant willfully used an automatic telephone dialing system to place these

calls.

         21.    Defendant did not have Plaintiff’s express consent to use an automatic telephone

dialing system to place these calls.

         22.    Defendant knew that it did not have Plaintiff’s express consent to use an

automatic telephone dialing system to place these calls.

         23.    Plaintiff is annoyed and feels harassed by Defendant’s calls.

                                     CLAIM FOR RELIEF
                               Telephone Consumer Protection Act

         24.    Defendant’s actions alleged supra constitute numerous negligent violations of the

TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every

violation pursuant to 47 U.S.C. § 227(b)(3)(B).

         25.    Defendant’s actions alleged supra constitute numerous and multiple knowing

and/or willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

         WHEREFORE, Plaintiff prays that judgment be entered against Defendant for the

following:

         (1) Statutory damages of $500.00 for each and every negligent violation of the TCPA

pursuant to 47 U.S.C. § (b)(3)(B);




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       (2) Statutory damages of $1500.00 for each and every knowing and/or willful violation

of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

       (3) All court costs, witness fees and other fees incurred; and

       (4) Awarding such other and further relief as may be just, proper and equitable.


                                                    Respectfully submitted,

Dated: January 16, 2017                             /s/ Kenneth P. Dobson
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